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9.b. The SOM Investigation Report




          July 8, 2024

          J. William Eley, MD, MPH
          Executive associate Dean, Medical Education
          Professor, Department of Hematology and Oncology

          Re: Umaymah Mohammad, Code of Conduct Complaint

          Dear Dr. Eley:

          In response to your request to investigate a complaint of a potential violation of the Emory School of
          Medicine MD Code of Conduct, I have reviewed a letter from                           dated May 1, 2024,
          an email from                    dated May 6, 2024, and a YouTube video and transcript of an interview
          of Umaymah Mohammad dated April 26, 2024, conducted by Amy Goodman of Democracy Now! I
          have also reviewed the Emory University School of Medicine Professional Conduct document (last
          modified: 7/17/2023) that includes Social Media Guidelines for Medical Students and Physicians
          (adapted from the Social Media Guidelines for the American Medical Student Association [AMSA]
          and last modified: 7/17/2023), and the Emory University School of Medicine Code of Conduct
          document (last modified: 7/17/2023).

          Summary of the events leading to the complaint:
          The Democracy Now! story dated April 26, 2024, was entitled “Atlanta Police Violently Arrest Emory
          Students & Faculty to Clear Gaza Solidarity Encampment.” It included interviews with two Emory
          faculty members who described their experiences and perspective on the events that took place on the
          Emory Quad when law enforcement was called in to remove a protest encampment set up in support
          of Palestinians on Thursday, April 25, 2024. Ms. Mohammad was the third person interviewed for the
          story and she was introduced as an MD/PhD student at Emory and asked to talk about these protests
          that she helped organize and why she felt it was so key to take this stand on campus. She expressed
          strong opinions about institutional repression of speech around Palestine, the events taking place in
          Gaza, concerns about the healthcare response, and concerns about the Georgia International Law
          Enforcement Exchange (GILEE) Program. The formal complaint stems from a statement Ms.
          Mohammad made during the interview that offered an example of what she felt was suppression of
          Palestinian voices. She made the following statement copied directly from the transcript of the
          interview:

          “So, a great example of this is very early on to this genocide, in October, Emory fired a Palestinian
          physician for posting a private social media post on her Facebook in support of the Palestinians. And
          yet one of the professors of medicine we have at Emory recently went to serve as a volunteer medic in


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   the Israeli Offense Force and recently came back. This man participated in aiding and abetting a
   genocide, in aiding and abetting the destruction of the healthcare system in Gaza and the murder of
   over 400 healthcare workers and is now back at Emory so-called teaching medical students and
   residents how to take care of patients.”

   In an email communication,                      , a faculty member in the School of Medicine, expressed
   serious alarm that, as a dual citizen of Israel and the United States who serves as a reserve doctor in
   the Israel Defense Force, he was being called out and exposed to harassment. He felt in the setting of
   the inflammatory language used and the many public comments in response to the YouTube posting
   speculating on the identity of the Emory Professor, that he and his family were being placed at risk.

   Findings:
   Ms. Mohammad has every right to express her opinions about Emory as an institution, the terrible
   situation in Gaza, the response of healthcare to the situation in Gaza, Israeli-Palestinian relations, and
   GILEE. Although one might disagree with the language used to express those opinions, I view this
   speech as consistent with the academic freedoms allowed a member of the University within the Code
   of Conduct. As stated in the Professional Conduct document, “The tradition of the University as a
   sanctuary of academic freedom and center of informed discussion in an honored one, to be guarded
   vigilantly.”

   However, I find the formal complaint that Ms. Mohammad’s very specific statement about the Emory
   faculty member fails to uphold the principles of professionalism and mutual respect has merit and
   recommend that you proceed to formal charges according to the Conduct Procedures detailed in the
   SOM Code of Conduct document. The use of inflammatory language (stating that the man participated
   in aiding and abetting genocide, in aiding and abetting the destruction of the healthcare system in Gaga
   and the murder of over 400 hundred healthcare workers) directed at an individual faculty member is
   irresponsible, disrespectful, causes a reasonable apprehension of harm, and exposes the faculty
   member to public hatred and harassment, all of which appears to be in violation of the Emory
   Professional Conduct and the Code of Conduct expectations. Although the faculty member was not
   named in the interview, it is reasonable to expect him to be identified based on the details Ms.
   Mohammad provided in the interview along with widespread social media information sharing.

   This recommendation is based upon the following guidance from the referenced documents.

   From the Professional Conduct document:
      1. Use of Social Media section, page 1: “In all communications, students are expected to be
          courteous, respectful, and considerate of others.”
      2. AMSA Social Media Guidelines for Medical Students and Physicians, Guidelines for Social
          Networking, page 2: “Be responsible. Carefully consider content and exercise good judgement
          as anything you post can have immediate and/or long-term consequences and carry the
          potential for significant public impact and viral spread of content.”
      3. AMSA Social Media Guidelines for Medical Students and Physicians, Guidelines for Social


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            Networking, page 2: “Be respectful. Do not use defamatory, vulgar, libelous and potentially
            inflammatory language…that is disrespectful for any individual or group..”

   From the School of Medicine Code of Conduct document:
      1. Basic Expectations/Inherent Authority section, page 1: “..the School of Medicine and the
          University at large assumes high standards of courtesy, integrity, and responsibility in all of its
          members; that each student is responsible for their conduct…”
      2. Prohibited Conduct Section, page 2, general statement: “Each student may be subject to this
          Code whether misconduct occurs on University premises, at University or School of Medicine
          sponsored activities, or at any location off-campus when such conduct is brought to the
          attention of the University or the School of Medicine.”
      3. Prohibited Conduct section, page 2, item 2: “Causing physical harm to any person or causing
          reasonable apprehension of such harm.”
      4. Prohibited Conduct section, page 3, item 4: “Engaging in conduct directed at a specific person
          or persons that seriously alarms or intimidates such person or persons…” “Such conduct may
          include: explicit or implicit threats, …making remarks in a public place to a specific person
          that…expose a person to public hatred”
      5. Prohibited Conduct section, page 3, item 6: [Possibly] “Violating the University’s Policy on
          Equal Opportunity and Discriminatory Harassment.”

   Although this was a difficult investigation in the context of highly complex, emotionally charged, and
   tragic world events, I hope that the Code of Conduct matter can come to a satisfactory conclusion.

   Sincerely,




   Monica M. Farley, MD
   Jonas A. Shulman Professor of Medicine/Infectious Diseases
   Director, Division of Infectious Disease
   Emory University School of Medicine




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